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VAN−150 Deficiency Notice (Text) − Rev. 07/10/2018

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                     Wilmington Division



                                                              CASE NO.: 19−02314−5−SWH

IN RE:                                                        DATE FILED: May 21, 2019

                                                              CHAPTER: 13


Marian Dubar                                                  Debtor represented by:
( debtor has no known aliases )                               Marian Dubar
24214 Andrew Jackson Hwy E                                    24214 Andrew Jackson Hwy E
Bolton, NC 28423                                              Bolton, NC 28423




Trustee:
Joseph A. Bledsoe III
PO Box 1618
New Bern, NC 28563



                                                     DEFICIENCY NOTICE

To: Marian Dubar

Re: Statement of Debtor(s) Social Security Number filed by Marian Dubar.

The referenced document has been filed; however, it is deficient as noted below. Failure to correct the
deficiencies by June 4, 2019 may result in the court assuming you no longer desire the relief requested
and entering an order denying or dismissing the requested relief, or in the matter being forwarded to the
judge for appropriate action.

Statement of Social Security Number has not been signed.

DATED: May 21, 2019


                                                              Deputy Clerk
